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WESTERN DIVISION
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* w/D OF IN. z.¢i);ez~:is
UNITED sTATES OF AMERICA,
*
Plaintiff,
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vs. No. 05-20272-Ma
*
ALBERT sMITH,
*
Defendant.
*
NoTICE OF APPEAL

Notice is hereby given that the United States of America appeals to the United States
District Court ii'om the Order issued by the Honorable Diane Vescovo, United States Magistrate

Judge which denied the Government’s request for pretrial detention without bond.

DATED: July 26, 2005. Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

5%' :AA

Stephen Hall
Assistant U.S. Attomey

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.. Case 2:05-cr-20272-SHI\/| Document 12 Filed 07/27/05 Page 2 of 3 Page|D 17

CERT]FICATE OF SERVICE

I, Stephen Hall, Assistant United States Attorney for the Westem District of Tennessee,
hereby certify that a copy of the foregoing NOTICE OF APPEAL has been mailed, first class
postage pre-paid, to the following counsel for the defendant
Mary Cay Jermann
Assistant Federal Defender
200 Jefl`erson Avenue, Suite 200
Mernphis, TN 3 8103

on July 26, 2005.

251:&:£

Stephen Hall
Assistant U.S. Attorney

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

